   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                               UNITED STATES BANKRUPTCY COURT

   7                                       DISTRICT OF ARIZONA
   8
        In re                                             Chapter 13
   9
        JOSE E. GUTIERREZ-BAUTISTA,                       Case No. 2-23-bk-07387-MCW
  10
  11    and                                               TRUSTEE’S RECOMMENDATION

  12    MAYRA E. GUTIERREZ,                               Deadline is February 26, 2024
  13                                           Debtors.
  14
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs.
  15
                The Trustee notes the following issues, which must be resolved before recommending
  16
  17   confirmation of the Plan:

  18            (1) The Arizona Department of Revenue has filed an objection to the Plan. The attorney for
  19
       the Debtor(s) must notify the Trustee if the objection has been resolved or, if the objection is
  20
       unresolved, file the appropriate motion to get the Court to hold a hearing on the objection. Unless
  21
       the creditor withdraws the objection or the Court overrules the objection, the creditor or creditor’s
  22
  23   attorney must endorse the proposed order confirming the plan. If resolution of the objection changes

  24   Plan funding requirements, the Trustee requires receipt of a new Plan analysis with any proposed
  25   order confirming the Plan. If a motion is filed to get a hearing before the Court, the time to submit
  26
       a proposed Order confirming the Plan to the Trustee is extended.
  27
                (2) The proofs of claim filed by Quantum3 Group LLC and Purchasing Power, LLC are not
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Case 2:23-bk-07387-MCW          Doc 16     Filed 01/26/24     Entered 01/26/24 15:14:26        Desc
                                           Page 1 of 3
   1   provided for by the Plan. The Debtors must resolve the discrepancies before the Trustee
   2
       recommends confirmation of the Plan. As to each claim, the Trustee requires that the Debtor(s): (a)
   3
       file an objection to the claim (if the debt is believed to be unsecured; (b) notify the Trustee in
   4
       writing that the claim issue has been resolved and the holder of the claim will endorse the order
   5
   6   confirming the Plan; (c) notify the Trustee in writing that the order confirming the Plan will provide

   7   for full payment of the claim; or (d) timely file an amended Plan to provide for some or all payment
   8
       on the claim. If resolution of the claims changes Plan funding requirements, the Trustee requires the
   9
       receipt of an amended Plan analysis (Local Form 13-2) with any proposed Order confirming the
  10
       Plan. If one or more objections to the proofs of claim is timely filed by the Debtor(s), then the time
  11
  12   to submit a proposed Order confirming the Plan to the Trustee is extended by 15 days after

  13   substantive completion of the last objection.
  14          (3) The Order confirming must state “Shellpoint Mortgage Servicing, secured by a first deed
  15
       of trust in the Debtor residence located at 10486 N. 73rd Dr., Peoria, AZ 85345, shall be paid
  16
       $1,945.42 for pre-petition mortgage arrears with 0% interest. Regular post-petition payments,
  17
  18   including all post-petition mortgage fees, expenses and charges, shall be paid directly by Debtors to

  19   the secured creditor.”

  20          (4) Plan payment status: Debtors plan payments are past due in the amount of $2,600.00
  21
       with an additional payment coming due February 16, 2024. Debtor’s remittance in the total amount
  22
       of $3,900.00 must be received in the Trustee’s office not later than February 26, 2024.
  23
              SUMMARY: Pursuant to Local Rule 2084-10(b), by February 26, 2024, Debtors are to
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  25   resolve all of the above issues and provide the Trustee with a proposed order confirming plan that

  26   meets the above requirements, or the Debtor must file an objection to the Recommendation and
  27
  28                                                   -2-


Case 2:23-bk-07387-MCW          Doc 16     Filed 01/26/24     Entered 01/26/24 15:14:26         Desc
                                           Page 2 of 3
   1   obtain a hearing date. If neither is accomplished, then the Trustee could file a notice of intent to
   2
       lodge a dismissal order.
   3                                                                                 Russell Brown
   4
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       Copy mailed or emailed to:
   5
   6   JOSE E. GUTIERREZ-BAUTISTA
       MAYRA E. GUTIERREZ
   7   10486 NORTH 73RD DRIVE
       PEORIA, AZ 85345
   8   GUTIERREZJOSE566@GMAIL.COM
   9
       PHOENIX FRESH START
  10   THOMAS ADAMS MCAVITY
       4131 MAIN STREET
  11   SKOKIE, IL 60076-2780
  12   DOCUMENTS@PHXFRESHSTART.COM

  13
                           Digitally signed by
  14
                           Jessica Morales
  15                       Date: 2024.01.26
                           14:19:50 -07'00'
  16   _________________________________
       jmorales@ch13bk.com
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Case 2:23-bk-07387-MCW            Doc 16    Filed 01/26/24   Entered 01/26/24 15:14:26        Desc
                                            Page 3 of 3
